           Case 2:06-cr-00325-JAM Document 64 Filed 12/07/07 Page 1 of 2


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 4   Telephone: (916) 554-2751
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 6
                        IN THE UNITED STATES DISTRICT COURT
 7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,     )         Case No. CR-S-06-0325 GEB
10                                 )
                    Plaintiff,     )         STIPULATION AND PROPOSED ORDER
11                                 )         CONTINUING JUDGMENT AND
          v.                       )         SENTENCE
12                                 )
     STEVEN RICHARD STEELE,        )
13   et al.,                       )
                                   )
14                  Defendants.    )
     ______________________________)
15
          Plaintiff, United States of America, by its counsel, Assistant
16
     United States Attorney Jason Hitt, and defendant Steven STEELE, by
17
     his counsel, Dwight Samuel, Esq., hereby stipulate and agree that the
18
     currently-set judgment and sentencing date of December 7, 2007, at
19
     9:00 a.m. should be continued to January 11, 2008, at 9:00 a.m.
20
21
     Dated: December 6, 2007                 /s/Jason Hitt
22                                           JASON HITT
                                             Assistant U.S. Attorney
23
24   Dated: December 6, 2007                 /s/Jason Hitt
                                             Authorized to sign for Ms. Barbour
25                                           on 12-06-07
                                             DWIGHT SAMUEL, Esq.
26                                           Counsel for STEELE
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28
           Case 2:06-cr-00325-JAM Document 64 Filed 12/07/07 Page 2 of 2


 1   _____________________________________________________________________
 2                                       ORDER
 3        Based upon the representations by counsel and the stipulation of
 4   the parties, IT IS HEREBY ORDERED that the judgement and sentencing
 5   date of December 7, 2007, at 9:00 a.m., is CONTINUED to January 11,
 6   2008, at 9:00 a.m.
 7
 8        IT IS SO ORDERED.
 9   Date: December 7, 2007
                                          GARLAND E. BURRELL, JR.
10                                        United States District Judge
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